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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT                         3:25MJ511 (TOF)

STATE OF CONNECTICUT                                         ss: Hartford, Connecticut


COUNTY OF HARTFORD                                           May 28, 2025


                        AFFIDAVIT IN SUPPORT OF COMPLAINT
                   '
       I, ALAN SZUL WACH, being duly sworn, deposes and states as follows:

                                       INTRODUCTION

       1.     I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

been an FBI Special Agent since 2020. Prior to that, I was an officer with the United States Park

Police since 2009. I am currently assigned to the New Haven Division of the FBI. As an FBI

Special Agent, I have conducted numerous investigations involving violations of federal laws.

       2.      I make this affidavit in support of an application for a criminal complaint charging

Julius Jordan Priester ("PRIESTER"), an adult male born in 2000, and who has a Social Security

Number, known to me, ending in 9482, with a violation of Title 49, United States Code, Section

46504 (interference with flight crew members and attendants) (the "TARGET OFFENSE").

       3.      Based on the facts set forth below, I submit that there is probable cause to believe,

and I do believe, that PRIESTER has committed the TARGET OFFENSE.

       4.     The statements contained in this affidavit are based in part on information

provided by other members of local, state, and federal law enforcement; my own investigation to

include personal observations, documents and other investigative materials that I have reviewed;

and my training and experience as an FBI Special Agent. Since this affidavit is being submitted

for the limited purpose of securing a criminal complaint, I have not included every fact known to

me concerning this investigation. I have set forth only the facts that I believe are necessary to
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establish probable cause for the requested criminal complaint.

                                   STATUTORY AUTHORITY

        5.        This investigation concerns a violation of Title 49, United States Code, Section

46504, which makes it a crime for "[a]n individual on an aircraft in the special aircraft

jurisdiction of the United States who, by assaulting or intimidating a flight crew member or flight

attendant of the aircraft, interferes with the performance of the duties of the member or attendant

or lessens the ability of the member or attendant to perform those duties, or attempts or conspires

to do such an act[.]" The term "special aircraft jurisdiction of the United States" is defined to

include an "aircraft in flight" that is a "civil aircraft of the United States." 49 U.S.C.

§ 46501 (2)(A).

                                       PROBABLE CAUSE

        6.        On the night of Tuesday, May 27, 2025, I was notified that American Airlines

Flight #3359 from Bradley International Airport in Hartford, Connecticut ("Bradley Airport") to

Chicago O'Hare International Airport had been diverted back to Bradley Airport at

approximately 10:05pm that night. I was informed that the flight was diverted due to a disruptive

passenger that had assaulted a member of the flight crew, forcing the captain to declare an

emergency. The passenger was identified as PRIESTER.

        7.        According to statements made by one of the flight attendants (the "Victim"),

whose identity is known to me, and other flight crew members and passengers, the Victim was

seated in the back row of the plane. About thirty minutes to an hour into the flight, a passenger

(later identified as PRIESTER) seated several rows ahead of the Victim stood up, began to take

off his shirt, then ran to the back of the plane yelling "Help me." PRIESTER grabbed the Victim

by the shirt collar, shouted "you're coming with me," and forcefully brought the Victim to the



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ground. PRI ESTER then attempted to drag the Victim up the aisle. PRIESTER refused to comply

with repeated flight crew instructions to cease his actions, and he held the Victim to the ground.

        8.     As this incident was occurring, another flight attendant notified the captain, who

declared an emergency, and the flight was diverted back to Bradley Airport.

        9.     PRI ESTER was returned to a seat after the intervention of passengers on board the

aircraft. While under watch of one of the intervening passengers, PRIESTER continued to act in

an erratic manner, grabbing and holding onto the arm of the passenger and making incoherent

statements.

        10.    The aircraft landed safely at Bradley Airport and PRIESTER was removed from

the aircraft by Connecticut State Police.

        11.    PRI ESTER was then taken by ambulance to a local hospital for evaluation. After

consultation with the U.S. Attorney's Office for the District of Connecticut, I arrested him at the

hospital.

        12.    During my interview of the Victim, the Victim informed me that PRIESTER's

conduct interfered with the performance of his/her duties.




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                                         CONCLUSION

        13.    Based on the foregoing facts, I believe there is probable cause to believe that on or

 about May 27, 2025, in the District of Connecticut and elsewhere, PRIESTER committed a

 violation of Title 49, United States Code, Section 46504 (interference with flight crew members

 and attendants). Therefore, I respectfully request that a criminal complaint be issued charging

 PRIESTER with such offense.




                                                     Alan Szulwach, p cial Agent
                                                     Federal Bureau of Investigation


Subscribed and sworn to before me this 28th day of May, 2025.



HO .,THOMAS 0. F     H
   TED STA TES MAGISTRATE JUDGE




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